
455 S.E.2d 160 (1995)
340 N.C. 107
Clyde E. ROWE, Jr., and Donna Grant Rowe
v.
John Thomas WALKER, C. Norman Walker and Shirley Walker Kennedy.
No. 181A94.
Supreme Court of North Carolina.
April 7, 1995.
Manning, Fulton &amp; Skinner, P.A. by John I. Mabe, Jr. and Alison R. Cayton, Raleigh, for plaintiffs-appellees.
Brown &amp; Bunch by Charles Gordon Brown and Scott D. Zimmerman, Chapel Hill, for defendants-appellants.
PER CURIAM.
AFFIRMED.
